         Case 4:20-cv-01208 Document 1 Filed on 04/03/20 in TXSD Page 1 of 4




                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

STEADFAST FUNDING, LLC,                                 §
et al.                                                  §
       Plaintiff                                        §
V.                                                      §
                                                        §      CIVIL ACTION NO. ________________
                                                        §
WFG National Land Title Company,                        §
                                                        §
               Defendant                                §

                              DEFENDANT’S NOTICE OF REMOVAL

          WFG National Title Insurance Company1 (“Defendant”), by and through its undersigned

counsel, and hereby removes the above-captioned civil action from the 157th Judicial District

Court, Harris County, Texas (the “State Court”), Cause No. 2020-14501 (the “State Court

Action”), to the United States District Court for the Southern District of Texas, Houston,

Division, pursuant to 28 U.S.C. §§ 1441 and 1446. As grounds for removal, the Defendant states

the following:

          1.      On March 3, 2020, Plaintiffs Steadfast Funding, LLC, (“Steadfast”), Marc Sherrin

(“Sherrin”), Initram, Inc. (“Initram”), Bruce L. Robinson (“Robinson”), Patrick Grosse, Trustee

of the Grosse Family Trust dated 12/31/2004, (“Grosse”), Morgan Marketing & Management,

Inc. (“Morgan Marketing”) and Jyoti B. Ramsey (“Ramsey”) commenced an action against

Defendant in the 157th Judicial District Court, Harris, Texas, entitled “Steadfast Funding, LLC, et

al v. WFG National Land Title Company” pending as Cause No. 2020-14501.

          2.      There have been no further proceedings in the State Court Action.




1
    Erroneously referred to as WGF National Land Title Company in the caption of the Complaint.


                                                       1
      Case 4:20-cv-01208 Document 1 Filed on 04/03/20 in TXSD Page 2 of 4




       3.      Defendant WFG National Title Insurance Company was served with the

Complaint through registered agent for service, CT Corporation System, on March 16, 2020 by

certified mail postmarked on March 13, 2020. Exhibit “A” at page A-7.

       4.      Pursuant to 28 U.S.C. § 1446(b), Defendant has timely removed this action

because this Notice of Removal is filed within 30 days after Defendant’s receipt of the initial

pleading setting forth the claim for relief upon which this action is based.

       5.      This Court has original jurisdiction of this case under 28 U.S.C. §1332(a) because

the matter in controversy exceeds the sum or value of $75,000, exclusive of interest and costs,

and is between citizens of different states. As such, this action may be removed to the Court

pursuant to 28 U.S.C. § 1441(a).

       6.      The amount in controversy requirement is satisfied. The Complaint alleges that

“Plaintiffs seek recovery of monetary damages in an amount over $200,000 but not more that

$1,000,000 at this time, however, damages continue to accrue rapidly.” Compl. ¶ 1.

       7.      WFG is a company existing under the laws of South Carolina, having its principal

place of business now and at the time the action was commenced at Portland, Multnomah

County, Oregon. Therefore, WFG National Title Insurance Company is considered a citizen of

Oregon.

       8.      Plaintiff Steadfast Funding is a Texas Limited Liability Company with its

managing member having an address at 1104 Downridge, Leander, Texas 78641. Plaintiff Marc

Sherrin is a resident of Collin County, Texas and a citizen of the state of Texas. Plaintiff Bruce

L. Robinson is a resident of the State of Texas and a citizen of the State of Texas. Plaintiff

Patrick Grosse, Trustee is a resident of the State of Texas and a citizen of the State of Texas.

Plaintiff Morgan Marketing & Management, Inc. is a company existing under the laws of the




                                                 2
      Case 4:20-cv-01208 Document 1 Filed on 04/03/20 in TXSD Page 3 of 4




Nevada, having its principal place of business in Nevada, Clark County, Nevada and for

diversity purposes is a citizen of the State of Nevada. Plaintiff Jyoti B. Ramsey is a resident of

the State of Georgia and is a citizen of the State of Georgia.

       9.      The Complaint names as a plaintiff, Initram, Inc. d/b/a Promethean Ventures

Initram, Inc. d/b/a Promethean Ventures. Initram, Inc. was incorporated under the laws of the

State of Texas on May 3, 1999 and had its corporate charter forfeited by the Texas Secretary of

State on March 3, 2011.       Initram, Inc. no longer exists and has no citizenship for diversity

purposes.

       10.     Accordingly, the complete diversity requirement is satisfied, and federal diversity

jurisdiction thus exists in this case under 28 U.S.C. § 1332.

       11.     In accordance with 28 U.S.C. § 1446(a) and Local Rule LR 81, a certified copy of

all process, pleadings, orders served upon Defendant, all counsel of record in this action, and

accompanying index are attached as Exhibit “A” and by this reference incorporated herein.

       12.     In accordance with 28 U.S.C. § 1446(d), a copy of this Notice of Removal is

being filed with the Clerk of the 157th Judicial District Court, Harris County, Texas and being

served on all adverse parties.

       13.     In accordance with Local Rule 81, copies of all processes, pleadings, orders

signed by the state judge, a copy of the state docket sheet, a complete list of all counsel of record,

together with an index of such documents are attached hereto collectively as “Exhibit A”

(containing pages numbered Exhibit A1-A107).

Signed and Filed: April 3, 2020.

                                                      Respectfully submitted,

                                                      /s/ Charles E. Fitch___________________
                                                      CHARLES E. FITCH



                                                  3
      Case 4:20-cv-01208 Document 1 Filed on 04/03/20 in TXSD Page 4 of 4




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                                                  ATTORNEY IN CHARGE FOR WFG
                                                  NATIONAL   TITLE  INSURANCE
                                                  COMPANY


                              CERTIFICATE OF SERVICE

       I, Charles E. Fitch hereby certify that on the date set forth below I caused the within
Notice of Removal to be electronically filed and served using the CM/ECF System, which will
transmit a Notice of Electronic Filing to counsel of record.

Dated: April 3, 2020.


                                                  /s/ Charles E. Fitch___________________
                                                  CHARLES E. FITCH
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ATTORNEY FOR PLAINTIFFS




                                              4
